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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA,

COMMONWEALTH OF
MASSACHUSETTS ,
                                                            Case No. 1:20-cv-02658
and

STATE OF WISCONSIN,

                      Plaintiffs,

v.

DAIRY FARMERS OF AMERICA, INC.

and

DEAN FOODS COMPANY

                      Defendants.


 JOINT REPORT AND CERTIFICATION OF COMPLIANCE WITH TUNNEY ACT
REQUIREMENTS ON BEHALF OF DEFENDANTS DAIRY FARMERS OF AMERICA,
                  INC. AND DEAN FOODS COMPANY

        Pursuant to Section 2(g) of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16(g)

(the "Tunney Act"), Defendants Dairy Farmers of America, Inc. (“DFA”) and Dean Foods

Company ("Dean"), by their attorneys, hereby submit that neither DFA nor Dean engaged in any

written or oral communications with any officer or employee of the United States concerning or

relevant to the proposed Final Judgment filed in this action on May 1, 2020. In accordance with

Section 2(g), this attestation excludes any communications by outside counsel alone with

employees of the Department of Justice alone.


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       Pursuant to 28 U.S.C. § 1746, we certify under penalty of perjury that the foregoing is

true and correct.


       Executed on August 4, 2020.



       Respectfully submitted,



                             FOR DEFENDANT DAIRY FARMERS OF AMERICA, INC.

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                             FOR DEFENDANT DEAN FOODS COMPANY

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